                  Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 1 of 11
                            E-FILED Cecil Circuit Court 8/17/2021 10:39 AM System System
                                                                                                    E-FILED; Cecil Circuit Court
       ~Ig ~'~,      CIRCUIT COURT FOR CECII~ COb~T~'c~t; 8/17/2021 10:3V~lllf;l~~~~ni~ion: 8/17/2021 10:39 AM
                     MARYLAIeTD
                     129 East Main Street
                     Elkton,lVlaryland 21921
                                                                                                                 EXHIBIT A

              To:    EAST COAST WAFFLES, INC. '
                     CSC-LAWYERS INCORPORATING SERVICE COMPANY
                     7 ST. PAUL STREET, SUITE 820
                     BALTIMORE, MD 21202

                                                                 Case Number:                              C-07-CV-21-000225
                                                    Other Reference Number(s):
                                            Child Support Enforcement Number:

HARRY BAILEY VS. EAST COAST VVAFFIrES, INC.
                                                                                                           Issue Date: 8/17/2021
                                                 WRIT ®F SUMMIONS

      You are hereby summoned to file a written response by pleading or motion, within 30 days after service of this
summons upon you, in this court, to the attached Complaint and civil non-domestic case information report filed by:

        HARRY J BAILEY
        406 N Franklin,Street
        Wilmington, DE 19805


COURTESY FORIVIS ATTACHED: BLANK CASE INFOR1dIATIQN REPORT, ANSWER AND NOTICE OF
RESTRICTED INFORIVIATION :

        This summons is effective for service only if served within 60 days after the date it is issued.



                                                        ~  VJIA      M   `Nqxkk
                                                        Charlene M. Notarcola
                                                        Clerk of the Circuit Court


To the person summoried:
    Failure to file a response within the time allowed may result in a judgment by default or the granting of the relief
sought against you.
    Personal attendance in court on the day named is NOT required.

Instructions for Service:
    1. This summons is effective for service onl.y if served within 60 days after the date issued. If it is not served within
       the 60 days, the plaintiff inust send a written request to have°it reriewed.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
       If service is not made, please state the reasoris.
    3. Return of served 'or unserved process shall be made promptly and in accordance with Maryland Rule 2-126.
    4. If this notice is served by private process, process. server shall file a separate affidavit as required by Maryland
       Rule 2-126(a).



CC-CV-032 (Rev. 11/23/2020)                            Page 1 of 2                                         08117/2021 10:35 AM
                 Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 2 of 11
                                                                                                                      Circuit Court for Cecil County
Harry Bailey vs. EAST COAST WAFFLES, INC.                                                                   Case Number: C-07-CV-21-000225

                                                     •.SHERIFF'S RETURN
                                                          (please print)

To: EAST COAST WAFFLES, INC.
                                                     ID#                                      of the
                 Serving Sheriff's Name .

County Sheriff's office present to the court that 1:

          (1) Served
                                                                                Name of person

on                                                       at
                          Date of service                                                              Location of service

                                                         by                                                                     with the following:
                                                                                     Manner of service



                      ❑    Summoris                                                       ❑ Counter-Complaint
                      ❑    Coniplaint                                                     ❑ Domestic Case Information Report
                      ❑    Motions                                                        ❑ Financial Statement
                      ❑ .Petition and Show Cause Order                                    ❑      Interrogatories
                      ❑    Other
                                                               Please specify


        (2) Was unable to serve because: .
                 ❑ Mo.ved left no forwarding address                  ❑ No such address
                      ❑    Address not in jurisdiction                 ❑ Other
                                                                                                                     Please specify



Sheriff fee: $                                                           ❑ waived by
                                        f




                                                              Date                Signature of serving Sheriff
Instructions to Sheriff's Office or Private Process Server:
    1. This Summons is effective for service onl.y if served within 60 days after the date issued. If it is not served within
         60 days, the plaintiff must send a written request to have it renewed.
    2. Proof of Service shall set out the name of the person served, date and the particular place and manner of service.
         If service is not made, please state the reasons.
    3. Return of served or unserved process shall be made promptly and in accordance with Rule 2-126.
    4. If this summons is served by private process, process server shall file a separate affidavit as required by Rule 2-
         126(a).




CC-CV-032 (Rev. 11/23/2020)                                     Page 2 of 2                                                           08117/2021 10:35 AM
         Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 3 of 11
                                 E-FILED Cecil Circuit Court 8/17/2021 10:39 AM System System
                                                                                                                                                                                 E-FILED; Cecil Circuit Court
                                                                                                       Do®bekdU187=202Ur9S-AWM$8bbriss®on8QPYM13tat11 @:89 IRM


                               Cecil County, MD
IN THE CIRCUIT COURT FOR......'-------- ----------------- --------=
                                                                                                                 ~       (C~ty or County)
                 CIVIL - NON-DOMESTIC CASE INFORIVLATION REPORT
                                             DIRECTIONS
   Plaintiff: This Information Report must be completed and attached to the complaint filed with the
Clerk of Court unless your case is exetnpted from the requirement by the Chief Judge of the Court of
Appeals pursuant to Rule 2-111(a).
   Defendant: You must file an Inforination Report as required by Rule 2-323(h).

FORM FILED DY: OPLAINTIFF                                                CIDEFENDANT                      CASE NUMBER..................t`lerlc•to        --                --
                                                                                                                                                                              insect.
            Harry Bailey                                                                                           EAST COAST WAFF~LES, IN~.....................
CASE NAME:.                                                                                             vs.       .. ...................................                .......-..........---...............
           ....................................I'Tairitiff' -•-----------------------•---•----....                                                      DefeiiiIarit
PARTY'S NAME: ----- Harry.        Bailey                                                                                                    pHONE: 302-6026403
                        ----=---•----------------------..------.......................------------------.............------------.........-                 ---------------------- .... ------..........
PARTY'S ADDRESS:            406      N.     Eranklin         Street,          Wilmington                  DE        19805                                                                        ..........
                                                                                                                                .................... ...................................•-•--...-----.....
PARTY'S E-MAIL: ~a         ----------------•------ --=--..........................-........................................................-•--------------...........--------•---•-------•----------
If represented by an attorney:
                                                                                                                                                         410-398-3025
PARTY'S ATTORNEY'S NAME:.. Edward -------------------------------------------------------------------
                                                             Andre Richitelli                                                       PHONE:.......
PARTY'S ATTORNEY'S'ADDRESS:----------=---------    143 E. Main Street, Elkton, MD 21921                                                                                             .....................
                                                                      ---------------------------------------------------- --------------------------- ------------
PARTY'S ATTORNEY'S E-MAIL:-- - edrichitelli                         -
                                                                       ~u~edrichitelli.com
                                                                            ------------------------------- -------------------------      ..............................................................
JURY DEMAND? CgYes ONo
RELATED CASE PENDING? C7Yes ONo If yes, Case #(s), if known:......................................................................
ANTICIPATED LENGTH OF TRIAL?: ............hours ....,...~. days
                                 i          PLEADING TYPE
New Case:       9Original              ClAdministrative Appeal O Appeal
Existing Case: 0Post-Judgment          ClAmendment
I ilin in an existing case skip Case Cate o/ Subcate o section - go to Relief section.
              IF NEW CASE: CASE CATEGORY/SUHCATEGORY (Check one box.)
1'OK'1'S ;                  O Government              PUBLIC LAW                   0 Constructive Trust
   Asbestos                    Insurance              I~ Attoey
                                                            rn   Grievance         Q Contempt
~ Assault and Battery       ~ Product Liability
Q Business and Commercial                             OBond Forfeiture Remission 0Deposition Notice
(~ Conspiracy                pROPERTY                 0 Civil Rights               0 Dist Ct Mtn ApP eal
~ Conversion                ~ Adverse Posse'ssion     C3 County/Mncpl Code/Ord Cl Financial
❑ Defamation
                               Breach of Lease        ~ Election Law               Q Grand Ju /Petit Jury
                                             Detinue                  ~minent Domain/Condemn.O Miscellaneous   ry
~ False Arrest/Im prisonmeiit Q Distress/Distrain
                                                                      Q Environment                Q  Perpetuate  Testimony/Evidence
❑ Fraud                                   11 Ejectment
0 Lead Paint = DOB of                                                 0 Error Coram Nobis          El Prod. of Documents Req.
                                          0 Forcible Entry/Detainer C]
   Youngest Plt:......................... Q Foreclosure                  Habeas Corpus,            C7 Receivership
0 Loss of Consortium                         Q Commercial             0  Mandamus                  13  Sentence Transfer
                                                                      [a prisoner Rights           Q Set Aside Deed
0 Malicious Prosecution                     0 Residential                                          ~  Special Adm. - Atty
Q Malpractice-Medical                        0 Currency or Vehicle ❑ I public Info. Act Records El    Subpoena Issue/Quash
❑ Malpractice-Professional                  0 Deed of Trust           Cl Quarantine/Isolation      0 Trust Established
Q Misrepresentation                          0 Land Installments      C3 Writ of Certiorari        0 Trustee Substitution/Removal
Q Motor Tort                                  3 Lien                  EMPLOYMENT
                                                                                                   0  Witness Appearance-Compel
~ Negligence                                  , Mortgage                                           PEACE ORDER
7 Nuisance                                   ORight of Redemption 0 ADA                            0 Peace Order
0 Premises Liability                         El Statement Condo       O Conspiracy
                                          13 Forfeiture of Property ! CI EEO/HR                    EQUITY
13 Product Liability                                                                               Q Declarato Jud ment
~ Specific Performance                       Personal Item            0 FLSA                       ~ Equitable Relief
Q T`oxic Tort                             0Fraudulent Conveyance 0 FMLA
U Trespass -                              0 Landlord-Tenant           0 Workers' Compensation ~ ln'unctive
                                                                                                        ~        Relief
Q Wrongful Death                          I~ Lis Pendens              ~ Wrongful Termination       0 Mandamus
CONTRACT                                  0 Mechanic's Lien                                        OTHER
0 Asbestos                                l7 OwnershiP                INDEPENDENT
                                                                      PROCEEDINGS                  0  Accounting
Q Breach                                  ~ Partition/Sale in Lieu                                 El Friendly Suit
O Busi ess and Commercial ~                  Quiet Title              0 Assumption of Jurisdiction 0 Grantor in Possession
Q Conessed Judgment                       0 Rent Escrow               Q Authorized Sale            0 Ma~ land Insurance Administration
   (Cont'd)                               0 Return of Seized Property Q Attorney Appointment ~ Miscellaneous
❑ Construction                            0 Right of Redemption
• Debt                                    Q Tenant Holding Over       OBody Attachment Tssuance Q Specific Transaction
C3 Fraud                                                              0 Connnission Issuance       D Structured Settlements

CC-DCM-002 (Rev. 07/2021)                                                               Page 1 of3
              Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 4 of 11
                                E-FILED Cecil Circuit Court 8/17/2021 10:39 AM System System
                                                                                                    E-FILED; Cecil Circuit Court
                                                                  DoBloekdI2187iED'2031•0MSAW'IIJISBbIYrias®on8W7®Q021IS:S9 PtM




:                           IN THE CIRCUIT COORT FOR CECIL COUNTY, MARYLAND

         Harry, Bailey
        .406 N. Franklin Street
         Wilmington DE 19805
                              . .                        •,

                   Plaintiff
                                                                                         C-07-CV-21-000225
              V.                            .                               Case No:

        EAST COAST WAFFLES, INC.                 "

        Resident Agent:'
        CSC-LAWYERS INCORPORATING SERVICE COMPAN
        7 ST. PAUL STREET
        SUITE 820                      ,
        BALTIMORE MD 21.20       ,
•                       •

                   Defendant

    .                                       :        COIVIPLAINT                    ,.


                   The Plaintiff, by Attorney Edward Andre Richitelli, respectfully represents the

        following:                                            ,


                   1.         That on or about August 22, 201$ the Plaintiff was an invitee to the

                              Defendant's restaurant, The Waffle House, at 261 Belle Hill Rd, Elkton MD

                             .21921.

                   2.         The plaintiff slipped and fell while on the said property at that time while there

                              as a customer, on account of the roof leaking water down onto the floor.
                                        ,

                   3.         The Defendant either owned; were the landlord of, occupied, and/or were

                              operating a business at the said location at the time of this fall.

                   4:         'The'Defendants were negligent in, amongst other things, in failing to use

                              ordinary care to see that the property is safe for persons using the said

          '                         •                                                                            1

                                            .,
    Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 5 of 11




            property, by failing to maintain the property so that it was safe for customers

            to patronize it while the roof was leaking or had leaked liquid from it, by not

            keeping the floor dry so that customers may avoid falling while there, and/or

            by not giving persons in #he position of the Plaintiff reasonable notice of an

            unsafe condition, or seeing that.others did so.

      5.    As a result of the accident, the Plaintiff suffered, still suffers and will continue

            to suffer, from serious bodily injuries, pain, mental anguish and permanent

            disability. The Plaintiff was required to spend substantial sums for medical

            treatment, and will need to continue to make financial expenditures in the

            future, and has suffered other economic losses, as well.                :

      wHEREFORE, • the Plaintiff prays for a judgment in excess of Seventy-Five

Thousand Dollars in compensatory damages plus cost.
                                                 ~,~,-....r-     - ~•~,

                                          _ls~ ~
                                          Edward Andre Richitelli
                                          Atty. ID No. 8205010267
                                          143 E. Main Street
                                          Elkton, MD 21921
                                          Tel. 410-398-3025
                                          Fax. 410-398-9488
                                          edrichitelli@edrichitelli.com


       THE PLAINTIFF REQUEST THAT THESE ISSUES BE TRIED BY JURY




                                                                                              E
      Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 6 of 11




               IF NEW OR EXISTING CASE: RELIEF (Check All that Apply)
13 Abatement              0 Earnings Withholding Cl Judgment-Interest    0 Return of Propei-ty
Q Administrative Action   0 Enrolhnent           17I Judgment-Summary 13 Sale of Property
O Appointment of Receiver El Expungement         O Liability             Cl Specific Performance
Cl Arbitration            Q Findings of Fact     Q Oral Examination      Q Writ-Error Coram Nobis
l7 Asset Determination    Cl Foreclosure         Q Order                 Q Writ-Execution
O Attachment b/f Judgment 13 Injunction           0Ownership of Property a Writ-Garnish Property
C7 Cease & Desist Order   0 Judgment-Affidavit   OPartition of Property ~
0 Condemn Bldg            ~Judgment-Attorney Fees~Peace Order               writ-Habeas Corpus
C] Contempt               0 Judgment-Confessed   OPossession             ~ Writ-Mandamus
~ Court Costs/Fees        Q Judgment-Consent                             ~ Writ-Possession
                                                 ~ Production of Records
0 Damages-Compensatory 0 Judgment-Declaratory L'J Quarantine/Isolation Order
C3 Damages-Punitive       D Judgment-Default     OReinstatement of Employment

Ifyou indicated Liability above, mark one of the following. This information is not an admission and
may not be used for any purpose other than Track Assignment.
®Liability is conceded. MLiability is not conceded, but is not seriously in dispute. OLiability is seriously in dispute.

        MQNETARY DAMAGES Do not include Attorne 's Fees, Interest, or Court Costs

  C7 Under $10,000,            $10,000 - $30,000          Cl $30,000 :- $100,000          19 Over $100,000
                                    .                               ,

  0 Medical Bills $                       El Wage Loss $                      Q Property Damages $
                      ALTERNATIVE DISPUTE RESOLUTION INFORMATION

 Is this case appropriate foi referral to an ADR process under Md. Rule •17-101? (Check all that apply)
 A. Mediation        OYes L7No                               C. Settlement Conference ElYes QNo
 B. Arbitration      OI'es 0No                               D. Neutral Evaluation       OYes ONo

                                          SPECIAL REQUIREMENTS
 ~ If a Spoken Language Interpreter is needed, check here and attach form CC-DC-041
O If you require an accommodation for a disability under the Americans with Disabilities Act, check
   here and attach form CC-DC-049
                                ESTIMATED LENGTI4 OF TRIAL
With the exception of Baltimore County and Baltimore City, please fill in the estimated LENGTH OF
TItL4L.                          (Case will be tracked accordingly)
                    Q 1/2 day of trial or less                  O 3 day's of trial time
                   13 1 day of trial time                       O More than 3 days of trial time
                   13 2 days of trial time

                BUSINESS AND TECHNOLOGY CASE MANAGEMENT PROGRAM
 For all jurisdictions, if'Business and Technology track designation under Md. Rtde 16-308 is requested,
                  attach a duplicate copy of complaint and check one of the tracks below.

             0 Egpedited- Trial within 7 months of               Cl Standard - Trial within 18 months of
                     Defendant's response                                  Defendant's response

                                        EMERGENCY RELIEF REQUESTED



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          Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 7 of 11




                                   COIVIPLEX SCIENCE AND/OR TECkINOLOGICAL CASE
                                           MANAGEMENT PROGRAM (ASTAR)

        FOR PURPOSES OF POSSIBLE SPEC.I.4L ASSIGNd~IENT TO AST.4R RESOURCES JUDGES uncler
   Md. Ratle 16-302, attach a duplicate copy of complaint and check whether assignnzent to an ASTAR is requested.

                       C7 Expedited - Trial within 7 mbnths of                                            0. Standard - Trial within 18 months of
                                 Defendant's response                                                               Defendant's response
 IF YOUARE FILING YOUR C0IVIPLAINTINBALTIMORE CITY, OR BALTIIiIORE COUNTY,
  LEASE FILL OUT TH.E APPROPRIATE BOX BELOW.
         CIRCUIT COURT FOR $ALTIMORE, CITY (CHECK ONLY ONE)

  ❑          Expedited                                                Trial 60 to 120 days from notice. Non jury matters.
   ~         Civil-Short                                              Tria1210 days from first answer.. ;
   ~         Civil-Standard                                           Tria1360 days from first answer.
   ~         Custom                                                   Sclieduling order entered by individual judge.
  ❑          Asbestos                                                 Special scheduling order.
   ~         Lead' Paint '                                          ', Fill in: Birth Date of youngest plaintiff ................................................ .
   ~         Tax Sale Foreclosures '                                  Special scheduling order.
   ❑         Mortgage Foreclosures                                    No scheduling order.

                                                  CIRCUIT COURT )F'OR BALTIMORE COUNTY

   ❑         Expedited                                     Attachment'Before Judgment, Declaratory Judgment (Simple),
       (Trial Date-90 days)                                Administrative Appeals, Districi Court Appeals and Juiy Trial Prayers,
                                                           Guardianship, Injunction, Mandamus.

   ~       Standard                                         Condemnation, Confessed Judgments (Vacated), Contract, Employment
    (Trial Date-240 days)                                   Related Cases, Fraud and Misrepresentation, International Tort, Motor Tort,
                                                            Other Personal Injury; Workers' Compensation Cases.

   El Extended Standard                                     Asbestos, Lender Liability, Professional Malpractice, Serious Motor Tort or
    (Trial Date-345 days)                                   Personal Injury Cases (medical expenses and wage loss of $100,000, expert
                                                            and out-of-state witnesses (parties),. and trial of five or tnore days), State
                                                           Insolvency.

   ~               Complex                                  Class Actions, Designated Toxic Tort, Major Construction Contracts, Major


    8/13/2021                                                                                                                                      AIS No.8205010267
                         ............ ------     ---------------••.........----------.....
                                               TSate     .        •                                                         ~~~='
                                                                                                                           Counsvu 'Party                  AttorneyNiimber
  143 E. Main Street :                                                                                      Edward Andre Richitelli
..............................................       ................................                                               .. . ... ...
                                                                                                                                 .......
                                              Acldress                                                                      P nnted   Name
  Elkton, MD '                                                                21921
                        City                                IState             Zip Code


 CC-DCM-002 (Rev. 07/2021) •                                                                 Page 3 of 3
      Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 8 of 11
                    E-FILED Cecil Circuit Court 8/17/2021 10:39 AM ,System System
                                                                                                         E-FILED; Cecil Circuit Court
                                                                          Docket: 8/17/2021,10:39 AM; Submission: 8/17/2021 10:39 AM


                        •             ,. ,           .

    IN THE CIRCUIT COURT FOR CECIL COUNTY
                     ("iVlf. -N()`N-•Ilt1MF.CTtfV CA:CF. iN1N'liMblA"PI[1N RFPnRT
                                                 ~       `       DIRECTIOAIS '
       Platnt~lfj: This informssion Repbrt must be corizpleeed and attacbed to Yhe complaint filed with the
    Clerk of Court urfless .yaur case is ezempted fr,ura the requirement by the Chief 3udge of the Court of
     Ppeals putsuaMto Rule 2-11 l(a).
       Defendoert: "You must file an Informgtion Report as required by Ruie 2-323(h).
                      UZSJNFO"ATIONJtEPORTGIOMTHEA                                            EPT£D dIA P
       RA+i FILED BY:13PLAINTIFF E)QEFENDANT '                                 CASE NUMBER
                                                                                                              ro~
      ASE NAME:                                                                vs.                                  _
                              •   •                               .                  .    •               :
     ARTY'S NAME: .                                                            PHONE:
    PARTY'S ADDRESS:
     ARTY'S E-MAiL: .
    If rtpreseoW by en atiorney: ,
     ARTY'S ATI'QRIVEY'S NAMEr                                                PHON.B:
     ARTY'S ATTi77RNBY'S ADDRESS:
    PARTY'S ATTORNfiY'S E-MAIL:
       KY DEMANDs OYes CINo
        LATED CASE PENDlNG? OYes ONo H'yes, Case #(s), ifknown'
      NTICIPATED LEN•GT$ OF TRiAL?: '                 hours        da s
                                              PLEADIMG TYPE
      ew Csse: .         Original '       DAdsniaisiretive Appeal O Appeal
    Ezisting Gese: CiPost-Judgment ' OAmendtnent
    IfFlUnue in arr adsft rase skiR Case Cate  / Subcat o sealion - go to Relief seetion.
                    IF IqLW CASE: CASE'CATEGORYISUBCATEGORY (Cheek one box.)
     vaa~                         u© Cio~rernntent '                    PUBLIC Lt1W.               UiConstructive Truat
                                                                        O Attorney C,fievance      O Cflntempt
~     A~        d Sattery ,       D1Frod~uctLiabil
                                       m' ,                ~nd Forfeiture Remission Q Deposit3on I~otice
    S 8asiuess
      ~        and       •• , PROPERTY
                y Comt»ercisl                              O Ciyil R' '                 CI Dist Ct Mtn Appeal
            ~                    O Asiverse Passession     OCosmty,~pl CodelOrd O Financia!
    D Defametion                 A Bieach of l.eese        (3Eleetion Law .             D Gtand Jury/Patit Jury
    D False Arrestllm    sonmedt   ~~     e                CLCniaent DomainlCondemn.O Miscellaneous
    © F~              Pn           DistresslDistrain       ~}~~~ent                     O Perpetuate TestimonyfEvider:ce
                                   E'ectmeat               Q~r      Coram No6is         C1 Prod. of D~nnents Req.
    O Lead Paitrt - DOB of `       l~ot~ble EntrylDetainer [j
      Youngestfslt:                Foraclosure             D~~~Nabeeas Corpus              Receivership
    O Loss of Consoniuro           D Commeroial                                            Serrtence Transf~
                                                           O Pasoner Rights                Set Aside .I)eetl
    O Malicious Prosecut~n         O Residential                                           Special Adtn. - Atty
    O Malpractice-Medieal          O  Curirency ar VehieEe O   Public info. Act Records    Suhpoena Issue/Quash
    D Malpractice-Professional     O i)eed of Trust        O t~uardntinellsolation •    C~'I`rust FstabEished
    O Mistepmsenistion             D Land lnstaiiments     E•1 Wnt  of C~dosnrt         17 Trnstee SubstitutionlRemoval
    OMotor Tort                       Lie~►                EMPLOYMEN         f          D Witt~ss Apqearance_Cornpel
    Ob(~iS~                        ~ Mortgage                                           PEACE ORI7►ER
    Dlv'ucsanee                    DRight ofRedentptton D ADA                           D Peace thder
       Prernises Liel►ility '        O Statement Condo         DConspiracy
                                                                                             EQU(TY                          ~
       Product Liability          Q Fadeiture of Property / D EEOIHR                         D Declatatory Iudgment
       S ecific Pesfurmattce         Petsonal ltem             D FI,~,
                                                                     sA
        ox:c Tort                 O Frauduient Coaveyanee D F~                               Ol~quitable Aelief
       ~respass                   OLandlord-Tenant             DW~ers'Campaisatioa D~junetiveRelief
       Wrongful Death             fl Lis Pendens               D Wrongful Teanination        D Mandamus
    CO;~-~At-g                "   O Mechaflie's Lien                                     • OTyER
       Asbestos                   S Qwnership                  INDEPIENDEN7' ,               D Accounting
       g~                            Partition/5ale in L'ieu   PRt?CEEDIN+GS ;               D Friendiy Suit
       g ess d mmeccial              4uiet 7 itie            , C7 Assumption of Jurisdiction D Grarttas in possessioa
       C~esse~u~gtnent               Rent Bscrow               O Astthorized Sale            D M land Insurance Administretion
       f~~                           Re2nnt of Seized Pcoperty0
                                  g RigbtaRedemption              Attnrn A n                     ~          us
    ~7 Constrttcxton
    D13~t                         O Tenani Holding Over.. OB   OC~ A~hmen~s          e.suanoeO. Mis ificT►~~ansacdoe
    DFraud                           .                                  ission lssuance      D tru tured Settletnents

    CCDCM-062 (Rev. 0412417),                -               -   Page I of 3
   Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 9 of 11




              IF NEW OR MSTING CASE: RELIEF (Cbeek AIE that AppM
 D A6atement                Earniags Withholding aJudgmentInterest      Q Return of Property
 D Administrat4ve Action a Enrollment            i-7Judgment-Sunu»ary D Sale of Property
D Appointment of Receiver D Expungement          QLiability..           0 Specific Performance
D Arbibigion              O Findings of Faat     Dpral"gxamination      Q WntError Caram Nobis
© Assst 17ietemtination   D Forectosure          C7 prder               D Writ-Execution
QAttacfinentb/fJudgmentDIctjunction              DpwnershipofProperty DWr?t-~ishPro}~ty
O Cease & Desist Order. D Judgrnent-Affidavit    Qp~tion of Property p              i
13 Condemn Bldg           O Judgment-Attorney FeesQp~ Order               ~rit-Habeas Co
DContempt                 OJudgment-Confessed ~7Possession              D Wr3t-Mandatnus~
4 Court CosteJFees                                                      DWrit-Possessian
                          D Judgment-Consent     DProduction of Records
©Damages-Compensa#ory:.DJudgnment-t)eclaratory OQe,arantine/lsolationUrder
~ Damages-Punitive        OJudgment-Default      QReinstatement of Employment

Ifycru irrrlfcated LirebfCrty above, inarit one of the following. This information is an admission and
may not be used for any purpase other than Track Assignment. .
OLiability is conceded.• Di.iability is not conce" hut is not sei►oasly in dispute.0#.iability is seriously in dispute.   `

       .14'lONETARY DAMAGES                  not inciude Attorae 's Fees laftrest, or Court Costs

  D tlnder$it},000         13 $10,Ott0 - S30,000          O$30,000 -$100,000            D Qver $IOtI,000

  DMedical Bilis $•                     13 Wage I.oss $                      DProperty Damages S
                      ALTETtNATIVIE DISPUTE RESOLUTION                            RMATION
 Is th'ss cm appmpriaxe for mfenal to an ADR process under Md. Rule i 7-103? {Check all that apply}
 A.Mediatwn         DYes dNo                             C. Settlement Conference DYes ONo
 B.Arbitration      DYes DNo                             D. Neutrai Evaluation      OYes QNo

                                         SPECIAL            UIREMENTS
Q if a Spoken Language,interpreter is needed; ebeela here and attach form CC-DC-041
D!f you require an accbmmod'ation for a disability urnier the Americans with Disabilities Act, check
    bere and.attacls forin CC-DC-@49
                                    ESTIMATED LEIYGTH OF TRIAL
Wj'th the ezceprforr ofSaltimore'County     and BaltFmore Cfty, plense fr71 in rhe estunrlted LENGT.H U
                                     (Case wlll be rrr,arked acaordPagty)
                  O 112 day of trial or less                  D 3 days of trial time
                  111 day  of trial time                     !'J Mor{e than 3 days of trial time
                  D 2 days of trial time
             BUStINESS AIdD TECHNOI.OGY CASE MANAGEMENT PROGL2AM
For alljurisdFdlow: ifBusiness and Tecbnalogy trrtck designatfon uxder Md Rule 1d-308 fs requested
               attach a duplfcute copy of comptczfnt arul chec,t one of tlre Irr►cks below.
             O EspWfted- Trial within 7 months of               D Staadard - Trial witlyin ]8 months of
                    Defendanfs resgDnse                                  Defendant's response
                                     EMERGENCY RELIEF ItEQUESTED


CC-DCM-002 (Rev. 04/2017)                            Page 2 of 3
 Case 1:21-cv-02523-BPG Document 1-1 Filed 10/03/21 Page 10 of 11




                        COMPLEX SCIENCE AND10R TECHNOLOGICAL CASE
                              MANAtaEMENT PROGRAM (ASTAR)

     FOR PURPOSESOF POSSJBLESPEC7.4L ASSIGNMENT TO ASTitR RE40URCESJUDGFS uruder
 Md Rule 16-302, attuch a dvpltcate copy ojcontploint and checlF whether assfgaraenl to an ASTAR is requesled.

                 O'Ezpedited = Triai within 7 months of                  Cl Stanrlard - Trial within 18 months of
         '                Defendant's response                                     17efendanPs response
lF YOUARE F1L11VG YOUR COMPLAl1VTI1V BdLTIMORE CITY, OR B:4LTlAfORE COUIYTY,
 LSASE FIl.L OiIT TRE APPROPRL9TLC BOX BELOW.
                 CIRCUIT COURT FOR BA.LTIMORE CITY (CHECK ONLY ONE)

 ❑      Expedited                              Trial 60 to l20' days from notice. Non-jury matters.
 ❑      Civil-Short                            Tria1210 days from f rst answer.
 ❑      C{vil•Standard.              ,;        Tria1360 days from frst answer.
 ❑      0stom                                  Scheduling order entered by individual judge.
 ❑     . Asbestos '          `                 Special scheduling on3er.
 ❑       Lead Paust                            Fill In: Biitlt Date ofyouagest plaintiff
 ❑       Tax,Sale Foreclosures                 Special scheduFirig order.
 ❑       Mortgage Foreclosures                 No scheduling order.

                            CIRCOIT COURT FOR BALTIMORE COUNTY
             ,                  ..

❑          Expedited -                    Attacliment Before Judgment, Declaratory Judgment (Sintple),
     (Trial Date-40 days)                 Administrative Appeals, L7istrict Court Appeals and Jury Triaf Prayers,
                      .                   Guardianship, [njzmction, Mandemus.

❑          Standard                       Condemnation, Confe.ssed Judgments (Vacated), Contract, Employment
    (Trial Date-240 days)                 Related Cases, Fraud and Misrepresenta{ion, [nternational Tort, Motor Tort,
                                          Other per~onal lnjury, Workers' Compensation Cases.

❑ Extended Standard                       Asbestos, Lender Liability, Professional Malpnictice, Serious Motor Tort or
 (Priat Date-345 days)                    Personal Injury Cases (medical expenses and wage (oss of $100,000, expert
                                          and out-of-state witnesses (parties), and trial of Sve or more days), State
                                          Insolvency.

❑          Complex                        Class Actions, Desigitated Toxic Tory Major Construotion Contraets, Major
    (Trial Date-450 days)                 Product Liabilities, Other Complex Cases. •.


                           a                                                      Signature ofCounsel

                         Addms
                                                                                         Printed Name
                 City                     State ~p
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CC-DCM-OOrZ (Rev. 04l2017)                                     Page 3 of 3
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                                     Baltimore MD 21202
